    Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 1 of 27




            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ABDULLAH IBN JIHAD FRIEND,  :
                Plaintiff   :
                            : Electronically Filed
        v.                  :
                            :
BRAD SHOEMAKER, RYAN C.     : Civil Action No.
BARNES, DANIEL WORTHINGTON, : 3:18-CV-01715 ARC PT
R. JACK MCKERNAN, TONY      :
R. MUSSARE, RICHARD         :
MIRABITO, LT. HARRY ENTZ,   :
and TRAVIS HEAP,            : Complaint filed August 29, 2018
                 Defendants :

      DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION
    TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

                                 Respectfully submitted,

                                 McCORMICK LAW FIRM

                                 By:   /s/ Austin White
                                        Brian J. Bluth, PA 87432
                                       Austin White, PA 312789
                                       Attorneys for Defendants Brad
                                       Shoemaker, Ryan C. Barnes, Daniel
                                       Worthington, R. Jack McKernan,
                                       Tony R. Mussare, Richard Mirabito,
                                       Lt. Harry Entz and Travis Heap

                                        835 West Fourth Street
                                        Williamsport, PA 17701
                                        (570) 326-5131
                                        (570) 601-0768 (fax)
                                        bbluth@mcclaw.com
                                        awhite@mcclaw.com
        Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 2 of 27




                                          TABLE OF CONTENTS

                                                                                                                     Page

Table of Authorities ................................................................................................. iii

I.     Introduction ........................................................................................................1

II.    Procedural History..............................................................................................1

III. Statement of Facts ..............................................................................................2

IV. Statement of Questions Involved ....................................................................... 6

V. Standard of Review ............................................................................................7

VI. Argument ............................................................................................................8

       1. Plaintiff Has Failed to State a Sufficiently Claim that His First
          Amendment Free Exercise Right Was Violated ........................................... 8

           a. Plaintiff’s free exercise right was not
              infringed upon by Defendant Worthington .............................................. 8

           b. Even if defendant Worthington interfered
              with a religious practice, it was pursuant to a
              legitimate penological interest ...............................................................10

           c. Plaintiff’s First Amendment rights were not Infringed
              by any other defendant ...........................................................................12

       2. Plaintiff Has Failed to State a Constitutional Deprivation
          Claim against Defendants Shoemaker, Barnes,
          McKernan, Mussare, Mirabito, Entz, and Heap .........................................12

       3. Plaintiff Has Failed to Identify a Prison Policy
          or Custom that Violated His Constitutional Rights ....................................14



                                                             i
       Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 3 of 27



      4. Plaintiff Has Failed to State a Fourteenth Amendment
         Procedural Due Process Claim....................................................................16

      5. Plaintiff Has Failed to State a Cruel and Unusual
         Punishment (or Substantive Due Process) Claim
         Because Solitary Confinement for Ten Days
         Is not Actionable Under the Constitution ...................................................18

      6. Plaintiff Has Failed to State a Claim for Punitive Damages .....................20

VII. Conclusion………............................................................................................20




                                                       ii
       Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 4 of 27



                                  TABLE OF AUTHORITIES

                                                                                                     Page
Cases:

Alexander v. Riga, 208 F.3d 419 (3d Cir. 2000)......................................................20

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) .............................................................. 8

Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ...................................................... 8

Carter v. Lawler, 2011 U.S. Dist. LEXIS 64513 (M.D. Pa. 2001) . .......................16

Cooper v. Tard, 855 F.2d 125 (3d Cir. 1988) ..........................................................10

DeHart v. Horn, 227 F.3d 47 (3d Cir. 2000) ............................................................ 8

DeHart v. Horn, 390 F.3d 262 (3d Cir. 2004) . .................................................10, 11

Heleva v. Kramer, 214 F. App’x 244 (3d Cir. 2007)...............................................11

Hudson v. McMillian, 503 U.S. 1 (1992).................................................................19

Johnson v. Wetzel, 209 F. Supp. 3d 766 (M.D. Pa. 2016) .......................................18

Kost v. Kozakiewicz, 1 F.3d 176 (3d Cir. 1993) . ...................................................... 7

Kwanzaa v. Mee, 2011 U.S. Dist. LEXIS 69531 (D.N.J. 2011)................................ 9

Lane v. Tavares, 2016 U.S. Dist. LEXIS 91052 (M.D. Pa. 2016) ......................8, 11

Markowitz v. Ne Land Co., 906 F.2d 100 (3d Cir. 1990) .......................................... 7

Millbrook v. United States, 8 F. Supp. 3d 601 (M.D. Pa. 2014) .............................12

Mitchell v. Dodrill, 696 F. Supp. 2d 454 (M.D. Pa. 2010) ......................................19

Monell v. Dept of Soc. Servs., 436 U.S. 658 (1978) ..........................................15, 17

Nyhuis v. Reno, 204 F.3d 65 (3d Cir. 2000) ............................................................18
                                                    iii
       Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 5 of 27




Pryor v. Nat’l Coll. Athletic Ass’n, 288 F.3d 548 (3d Cir. 2002) .............................. 4

Rode v. Dellarciprete, 845 F.2d 1195 (3d Cir. 1988) ........................................12, 14

Roman v. UniGroup Worldwide, Inc., 2014 U.S. Dist. (W.D. 2019) ........................ 4

Sharp v. Johnson, 669 F.3d 144 (3d Cir. 2012) ......................................................... 8

Smith v. Wade, 461 U.S. 30 (1983) ..........................................................................20

Sutton v. City of Phila., 21 F. Supp. 3d 474 (E.D. Pa. 2014) ..................................14

Turner v. Safley, 482 U.S. 78 (1987) .............................................................8, 10, 12

United States ex rel. Jones v. Rundle, 453 F.2d 147 (3d Cir. 1971)........................10

Whitley v. Albers, 475 U.S. 312 (1986) ...................................................................19

Wolff v. McDonnell, 418 U.S. 539 (1974) ...............................................................16

Young v. Quinlan, 960 F.2d 351 (3d Cir. 1992) ......................................................19




                                                     iv
      Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 6 of 27



                                    I.      Introduction

      The gravamen of plaintiff’s second amended complaint is that while he was

incarcerated at Lycoming County Prison (the “Prison”) a correctional officer

stopped him from making a call to prayer during the early morning hours of May

17, 2018. Plaintiff alleges that, as a result, all the defendants violated his First,

Eighth, and Fourteenth Amendment rights.

      To the contrary, plaintiff has failed to assert a cognizable claim because he

has merely claimed that he was restricted from calling others to pray – not from

actually engaging in prayer. Plaintiff has also failed to allege facts from which this

Court could reasonably infer that his due process rights were infringed through the

resultant disciplinary/grievance process, or upon which this Court could find that

the Prison has a custom or policy that infringed upon his free exercise right. In a

Section 1983 case such as this, those factual inadequacies are fatal to plaintiff’s

claims. The second amended complaint should thus be dismissed, with prejudice.

                              II.        Procedural History

      Plaintiff commenced this action in the United States District Court for the

Middle District of Pennsylvania by way of a complaint filed on August 29, 2018.

On September 17, 2018, defendants waived service of the summons for the

defendants listed in the original complaint. On September 20, 2018, plaintiff filed



                                              1
      Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 7 of 27



an amended complaint, which added defendants Heap and Entz. A waiver of the

service of summons for defendants Heap and Entz was filed on October 2, 2018.

      On November 16, 2018, all defendants filed a Rule 12(b)(6) motion to

dismiss plaintiff’s amended complaint for a failure to state a claim upon which

relief can be granted. (Doc. 24). In response, plaintiff filed a motion for leave to

file a second amended complaint. (Doc. 27). The Court granted plaintiff’s motion,

and provided the defendants until May 13, 2019, to file a response to plaintiff’s

second amended complaint. (Doc. 29). Plaintiff’s second amended complaint was

docketed on April 11, 2019. (Doc. 30).

      On May 13, 2019, defendants filed a Rule 12(b)(6) motion to dismiss

plaintiff’s second amended complaint for a failure to state a claim upon which

relief can be granted. (Doc. 31). This brief is filed in support of defendants’

motion to dismiss.

                              III.   Statement of Facts

      Plaintiff alleges the following facts which are accepted as true for purposes

of the instant motion only:

      Plaintiff Abdullah Ibn Jihad Friend (“plaintiff”) was, at all times relevant to

his second amended complaint, a pre-trial detainee at Lycoming County Prison in

Williamsport, Pennsylvania. Plaintiff is a practicing Muslim who alleges that the




                                          2
      Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 8 of 27



defendants violated his First, Eighth, and Fourteenth Amendment rights. (Doc. 30,

¶¶ 1, 21).

      Plaintiff alleges that at an unspecified date and time in May 2018,

Correctional Officer Worthington (“C.O. Worthington”) observed plaintiff and

another inmate having a conversation about Islam, and in response C.O.

Worthington made several derogatory statements about Muslims. (Doc. 30, ¶ 1).

      On May 15, 2018, plaintiff alleges he was making a “recitation of the call to

prayer known as the adhan” when C.O. Worthington interrupted him, yelled “shut

the fuck up,” and then went to get the on-duty supervisor. ( Doc. 30, ¶¶ 2-3).

When the supervisor came, plaintiff was permitted to continue with his “call to

prayer before plaintiff’s prayer.” (Doc. 30, ¶ 3). Plaintiff makes no allegation that

he was actually restrained from engaging in an act of prayer – rather, he merely

claims that C.O Worthington interrupted his call to others to pray.

      Then, on May 17, 2018, plaintiff alleges that C.O. Worthington was

“roaming” the hallways, “stalking” and waiting for plaintiff to “start with the

adhan.” (Doc. 30, ¶ 4). Plaintiff alleges that when he “began the call to prayer”

C.O. Worthington entered plaintiff’s cell block and told plaintiff to “shut the fuck

up” and threatened to send plaintiff to segregation. (Doc. 30, ¶ 5). C.O.

Worthington then issued plaintiff a misconduct for disobeying orders and

excessive noise. (Doc. 30, ¶ 6). Again, plaintiff makes no claim that he was


                                          3
      Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 9 of 27



actually restrained from peacefully praying, rather, he alleges he was written up for

making a “call to prayer. 1”

      To resolve the misconduct, plaintiff had a hearing before the Prison

disciplinary hearing committee, which was comprised of defendants Barnes, Entz,

and Heap. (Doc. 30, ¶ 7). Plaintiff was found guilty of making excessive noise

between 11pm-7am. (Doc. 30, ¶ 7). As a sanction, plaintiff was sentenced to 10

days in segregation. (Doc. 30, ¶ 18).

      The misconduct C.O Worthington issued, which plaintiff basis this action on

in part, is attached hereto as Exhibit A. 2 Per the misconduct, plaintiff was written

up for excessive noise and disobeying orders because he was calling to others to

pray at 4:30 a.m. on May 17, 2018. C.O. Worthington wrote that there had been

three complaints from other inmates about plaintiff making noise like this on a

daily basis; that plaintiff had been warned about a similar infraction on May 15,

2018; and that plaintiff persisted to make noise despite being warned three times in


1
  According to Wikipedia, the “adhan” or “call to prayer” is a call made by a
mosque five times a day, often via loud speakers, which summons Muslims to
engage in prayer. https://en.wikipedia.org/wiki/Adhan (accessed May 24, 2019).
Plaintiff has not, and cannot, establish that his faith requires him to perform the
equivalent of a loud speaker notification to Muslims at 4:30 a.m.
2
  While this matter is before the Court on a motion to dismiss, the Court is
permitted to consider the attached misconduct, because plaintiff repeatedly relies
upon it in his complaint. See Roman v. UniGroup Worldwide, Inc., 2014 U.S.
Dist. LEXIS 72506, at *28 (W.D. Pa. 2014) citing Pryor v. Nat'l Coll. Athletic
Ass’n, 288 F.3d 548, 559-60 (3d Cir. 2002).
                                          4
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 10 of 27



a manner of a minute to stop. See Ex. A. The write-up shows that plaintiff was

found guilty of making excessive noise, and that he received a 10-day sanction.

See id.

      Plaintiff then alleges that he was subjected to inhumane conditions during

his 10 days of solitary confinement (to include loud noises, a dirty cell, insects, a

thin mattress, 14 hours between meals, and lack of contact with children and

family members) which he alleges amounts to cruel and unusual punishment under

the Eighth Amendment. (Doc. 30, ¶ 14). He also claims that his time in solitary

was a result of C.O. Worthington’s purported “discriminatory conduct towards

Muslims.” (Doc. 30, ¶ 15).

      Next, plaintiff alleges that defendants Barnes, Entz, and Heap violated his

Fourteenth Amendment due process rights because, during the disciplinary

hearing, they denied plaintiff’s request to call certain witnesses. (Doc. 30, ¶ 16).

Plaintiff does not state the names of the witnesses he wanted to call, how/when he

made the request, or why their testimony was necessary.

      Plaintiff then alleges that defendants McKernan, Mussare, and Mirabito

(County Commissioners and Prison Board members) are policymakers who

maintained an unspecified custom/policy that impinges upon Muslims’ rights to

freely practice their religion. (Doc. 30, ¶¶ 32-34). Finally, plaintiff alleges that




                                           5
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 11 of 27



McKernan, Mussare, and Mirabito violated his First Amendment rights when they

“learned about the situation and failed to rectify the problem.” (Doc. 30, ¶ 18).

      The only allegation against Warden Shoemaker was that he denied

plaintiff’s grievance regarding the May 17, 2018 write-up. (Doc. 30,¶ 18).

      Plaintiff concludes his second amended complaint by demanding

compensatory damages in the amount of $250,000.00; punitive damages in the

amount of $100,000.00 from each defendant; nominal damages; damages for

mental and emotional distress in the amount of $10,000 from each defendant; and a

declaratory judgment. (Doc. 30, at I).

                          IV.    Statement of Questions Involved

      1. HAS PLAINTIFF FAILED TO SUFFICIENTLY ALLEGE THAT HIS
         FIRST AMENDMENT FREE EXERCISE RIGHTS WERE
         UNCONSTITUTIONALLY INFRINGED?

         (Suggested Answer in the Affirmative)

      2. HAS PLAINTIFF FAILED TO STATE A CONSTITUTIONAL
         DEPRIVATION CLAIM AGAINST DEFENDANTS SHOEMAKER,
         BARNES, ENTZ, HEAP, MCKERNAN, MUSSARE, AND
         MIRABITO?

         (Suggested Answer in the Affirmative)

      3. HAS PLAINTIFF FAILED TO IDENTIFY A PRISON POLICY OR
         CUSTOM THAT VIOLATED HIS CONSTITUTIONAL RIGHTS?

         (Suggested Answer in the Affirmative)




                                          6
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 12 of 27




      4. HAS PLAINTIFF FAILED TO ALLEGE THAT DEFENDANTS
         BARNES, ENTZ, OR HEAP VIOLATED HIS FOURTEENTH
         AMENDMENT PROCEDURAL DUE PROCESS RIGHTS?

         (Suggested Answer in the Affirmative)

      5. HAS PLAINTIFF FAILED TO STATE A CRUEL AND UNUSUAL
         PUNISHMENT (OR SUBSTANTIVE DUE PROCESS) CLAIM,
         BECAUSE SOLITARY CONFINEMENT FOR 10 DAYS IS NOT
         ACTIONABLE UNDER THE CONSTITUTION?

         (Suggested Answer in the Affirmative)

      6. HAS PLAINTIFF FAILED TO STATE A CLAIM FOR PUNITIVE
         DAMAGES?

         (Suggested Answer in the Affirmative)

                            V.     Standard of Review

      The purpose of a motion to dismiss is to test the legal sufficiency of the

complaint. See Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993). Thus, in

deciding a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), the Court must

“accept as true the facts alleged in the complaint and all reasonable inferences that

can be drawn from them.” See Markowitz v. Ne Land Co., 906 F.2d 100, 103 (3d

Cir. 1990).

      For a complaint to be legally sufficient, a plaintiff must assert a facially

plausible claim by pleading “factual content that allows the Court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”



                                          7
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 13 of 27



Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) citing Bell Atl. Corp. v. Twombly, 550

U.S. 544, 556 (2007).

                                  VI.    Argument

                 1. Plaintiff Has Failed to Sufficiently Allege that
               His First Amendment Free Exercise Right Was Violated.

a.    Plaintiff’s free exercise right was not infringed upon by C.O.
      Worthington.

      A plaintiff alleging a free exercise violation must demonstrate that a

sincerely held religious belief was unlawfully infringed upon by prison officials.

See Lane v. Tavares, 2016 U.S. Dist. LEXIS 91052, at 26 (M.D. Pa. 2016) citing

DeHart v. Horn, 227 F.3d 47, 51 (3d Cir. 2000). To ultimately succeed, a plaintiff

must prove that his Constitutional right to free exercise of religion was

significantly restricted, and that the restriction was not reasonably related to a

legitimate penological interest. See Sharp v. Johnson, 669 F.3d 144, 156 (3d Cir.

2012) citing Turner v. Safley, 482 U.S. 78, 89 (1987). Plaintiff’s has not pled facts

to demonstrate he has a plausible free exercise claim, as discussed below.

      First, plaintiff’s Constitutional right to free exercise of religion was not

subject to significant restriction. Nowhere in plaintiff’s second amended complaint

does he allege that he was actually prohibited from participating in an act of prayer

– rather, plaintiff merely claims he was denied the opportunity to call others to

prayer.


                                           8
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 14 of 27



      Specifically, plaintiff’s claim is that on two occasions while he was

engaging in a “call to prayer” he was told by C.O. Worthington to shut up, and that

he was written up on the second occasion when he did not listen. Per C.O.

Worthington’s misconduct report, plaintiff was written up because he was yelling

at 4:30 a.m.; because C.O. Worthington had received multiple complaints from

other inmates for similar behavior by plaintiff; and because plaintiff refused to stop

yelling after being told to stop three times within a matter of a minute. Plaintiff

fails to plead any facts explaining exactly how this minimal restriction – not being

permitted to call others to pray at 4:30 a.m. – actually prevented him from

practicing his faith.

      A similar claim was dismissed sua sponte by United States District Judge

Stanley R. Chelser, in Kwanzaa v. Mee, 2011 U.S. Dist. LEXIS 69531 (D.N.J.

2011). In Kwanzaa, the plaintiff inmate alleged, inter alia, that his right to free

exercise of religion was unlawfully infringed when he was prevented from making

the Islamic call to prayer on two occasions. See id. at 27. The Court disagreed,

and held that the bare allegation that the plaintiff was denied the opportunity to call

others to prayer was inadequate to state a free exercise claim. See id. at 30. The

Court distinguished between an inmate claiming a significant restriction upon the

act of praying (which did not occur here, or in Kwanzaa) and an inmate claiming

he was prevented from calling others to pray. It is respectfully submitted that, like


                                           9
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 15 of 27



in Kwanzaa, plaintiff’s claim here that he was restricted from calling others to pray

is not actionable. Plaintiff has not alleged facts, nor can he, that he was punished

for peacefully praying, or restricted from peacefully praying.

      Accordingly, defendants submit that there is not sufficient factual material

within the second amended complaint for the Court to reasonably infer that C.O.

Worthington unlawfully interfered with plaintiff’s free exercise right. The second

amended complaint should thus be dismissed, with prejudice.

b.    Even if defendant Worthington interfered with a religious
      practice, it was pursuant to a legitimate penological interest.

      While prisoners have a right to practice their religion, that right is not

absolute. See United States ex rel. Jones v. Rundle, 453 F.2d 147, 149 (3d Cir.

1971). Indeed, the Third Circuit has explained that the free exercise of religion

may be restricted in a prison setting, if the restriction is in furtherance of legitimate

penological interests. See Cooper v. Tard, 855 F.2d 125, 128 (3d Cir. 1988). To

determine whether a restriction is constitutional, the Court is to apply a

reasonableness standard. Id. at 128.

      The reasonableness standard requires review of four separate factors.

DeHart v. Horn, 390 F.3d 262, 268 (3d Cir. 2004) citing Turner v. Safley, 482 U.S.

78 (1987) to include (1) whether a rational connection exists between the

regulation and a neutral, legitimate government interest; (2) whether alternative

means exist exercising the constitutional right; (3) what impact the accommodation
                                           10
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 16 of 27



of the right would have on inmates, prison personnel, and allocation of prison

resources; and (4) whether obvious, easy alternatives exist. DeHart v. Horn, 390

F.3d 262, 268 (3d Cir. 2004).

      The Turner factors apply even where a plaintiff alleges misconduct against

an individual as opposed to a policy. See Lane v. Tavares, 2016 U.S. Dist. LEXIS

91052, at 27 (M.D. Pa. 2016) quoting Heleva v. Kramer, 214 F. App’x 244, 247

(3d Cir. 2007). Under Turner, the plaintiff bears the burden of proving the conduct

was not rationally related to a legitimate penological interest. See Lane v. Tavares,

2016 U.S. Dist. LEXIS 91052, at 27 (M.D. Pa. 2016).

      Here, plaintiff has failed to meet his burden of pleading that defendant C.O.

Worthington’s actions were unrelated to a legitimate penological interest. On the

day plaintiff was written up C.O. Worthington heard plaintiff yelling from his cell

block at 4:30 a.m., and he directed plaintiff to stop three times in a manner of a

minute, and plaintiff defied those instructions. At that time, C.O. Worthington had

received three complaints from other inmates about similar conduct by plaintiff

occurring on a daily basis. And, C.O. Worthington had warned plaintiff for a

similar infraction just days earlier.

      Considering the time of day plaintiff was yelling, the impact the “act” had

on other inmates and the staff, and plaintiff’s defiance of direct orders, plaintiff has

failed to meet his burden of pleading a plausible claim under the Turner analysis.


                                          11
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 17 of 27



Indeed, the Prison has a legitimate penological interest in having specified times

for inmates to sleep (a set routine), and in requiring that inmates obey direct orders.

Ordering an inmate to cease making excessive noise during quiet hours, and

issuing a misconduct against an inmate who defies direct orders, are actions that

are rationally related to penological interests. There is nothing unreasonable about

what transpired here.

      The defendants respectfully submit that the second amended complaint

against defendant C.O. Worthington should thus be dismissed, with prejudice.

c.    Plaintiff’s First Amendment rights were not infringed by any other
      defendant.

      For the reasons stated above regarding plaintiff’s failure to plead a sufficient

free exercise claim against defendant C.O. Worthington, plaintiff’s free exercise

claims against defendants Shoemaker, McKernan, Mussare, Mirabito, Barnes,

Entz, and Heap also fail, as a matter of law. There are no facts plead from which

this Court could reasonably infer that any of those defendants had personal and

affirmative involvement in a violation of plaintiff’s free exercise right. The Court

should thus dismiss plaintiff’s First Amendment claims against these defendants.

          2. Plaintiff Has Failed to State a Constitutional Deprivation
                 Claim against Defendants Shoemaker, Barnes,
                McKernan, Mussare, Mirabito, Entz and Heap.

      Liability in a Section 1983 civil rights action is personal in nature, and if a

prison official’s only involvement is being a supervisor or investigating a request
                                          12
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 18 of 27



or grievance, there is no personal involvement on the part of that official. See

Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d. Cir. 1988); see also Millbrook v.

United States, 8 F. Supp. 3d 601, 613 (M.D. Pa. 2014) (stating that civil rights

claims may not be premised on the theory of respondeat superior and that the

plaintiff must demonstrate how each defendant was “personally involved in the

events or occurrences which underlie a claim”). Here, plaintiff has failed to allege

that defendants Shoemaker, Barnes, McKernan, Mussare, Mirabito, Entz, or Heap

were personally and affirmatively involved in a deprivation of plaintiff’s

constitutional rights. That failure is fatal to plaintiff’s claims against each of these

defendants.

      First, plaintiff has failed to plead any facts whatsoever to support his claim

that defendant Warden Brad Shoemaker acted unlawfully. Plaintiff’s sole claim

against defendant Shoemaker is that he denied plaintiff’s grievance appeal.

Pursuant to Rode, involvement in an investigatory capacity reviewing a grievance

appeal does not rise to the level of personal and affirmative involvement in a

deprivation. It is submitted that a single conclusory allegation that defendant

Shoemaker denied a grievance appeal is legally insufficient to state a claim.

      The second amended complaint is equally deficient as to defendants Barnes,

Entz, and Heap. Involvement in the disciplinary hearing process is insufficient to

demonstrate personal and affirmative involvement in a First, Eighth, or substantive


                                           13
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 19 of 27



due process Fourteenth Amendment 3 deprivation, as a matter of law. See Rode,

supra.

         Finally, plaintiff has not alleged any personal and affirmative involvement of

constitutional deprivation on the part of County Commissioners McKernan,

Mussare, and Mirabito. The claims against the Commissioners are premised on the

allegation that the Commissioners learned about plaintiff’s “situation” and failed to

act 4 to rectify the same (presumably through the grievance appeal process because

the Commissioners are members of the Prison Board). Involvement in the

grievance process or in an investigatory capacity is insufficient to establish

personal and affirmative involvement.

         As plaintiff has failed to allege that defendants Shoemaker, Barnes,

McKernan, Mussare, Mirabito, Entz and Heap were personally and affirmatively

involved in a Constitutional deprivation, the claims against these defendants should

be dismissed, with prejudice.

                  3. Plaintiff Has Failed to Identify a Prison Policy
                 or Custom that Violated His Constitutional Rights.

         When a plaintiff files suit against a defendant in his/her official capacity, it

is not a suit against the individual, but the individual’s office. See Sutton v. City of

3
 To the extent plaintiff is making a procedural due process claim against the
Committee, that claim is addressed later in this brief.
4
 Plaintiff also makes a policy-based claim against the Commissioners, which is
addressed in the subsequent section of this brief.
                                             14
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 20 of 27



Phila., 21 F. Supp. 3d 474, 485 (E.D. Pa. 2014). Thus, to the extent plaintiff’s suit

against defendants McKernan, Mussare, and Mirabito, County Commissioners and

members of the Prison Board, is lodged against them in their official capacities, the

suit is a policy claim against the Prison itself which must be scrutinized under the

Monell standard. See Monell v. Dep’t of Soc. Servs, 436 U.S. 658, 694 (1978).

      In accordance with Monell, to state a policy claim a plaintiff is required to

plead facts indicating that a Prison policy caused him a constitutional deprivation.

See Monell. Plaintiff has not met that standard. Rather, the second amended

complaint makes the conclusory allegation that defendants McKernan, Mirabito,

and Mussare promulgated a “ghost policy” which prohibited “mandatory aspects of

the Islamic religion.” Plaintiff has plead no facts regarding an actual Prison policy

or practice implemented or maintained by these defendants, which purportedly

infringed upon plaintiff’s free exercise right. 5




5
  To the extent plaintiff’s policy argument is that there is a policy that he is not
allowed to call others to pray at 4:30 a.m. that argument also fails. First, plaintiff
has not shown that that restriction prevented him from practicing his faith. Second,
that restriction is reasonably related to a legitimate penological interest – having
quiet hours for inmates to sleep is a viewpoint neutral and rationally related to
maintaining order and routine. Allowing inmates to yell at 4:30 a.m. would also
have a negative impact upon the rights of other inmates to sleep. And, a restriction
during quiet hours does not restrain an inmate from engaging in otherwise
permissible calls to prayer during the daytime (plaintiff has not claimed he was
restricted from making a call to prayer during the day).
                                           15
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 21 of 27



Accordingly, plaintiff has failed to state a policy claim under Monell, and all

claims against McKernan, Mussare, and Mirabito, in their official capacities, and

any other policy type claim made by plaintiff, should be dismissed.

                   4. Plaintiff Has Failed to State a Fourteenth
                   Amendment Procedural Due Process Claim.

      Plaintiff alleges that defendants Barnes, Entz, and Heap, as members of the

Prison disciplinary hearing committee, did not allow him to call unspecified

witnesses during the disciplinary hearing, resulting in a purported violation of his

Fourteenth Amendment procedural due process rights. That allegation is

insufficient to state a claim.

      The minimal procedural protections that apply to prison disciplinary

proceedings are the right to (1) receive advance written notice of the disciplinary

charges; (2) call witnesses and present documentary evidence as part of a defense

when consistent with institutional safety or correctional goals, and (3) receive a

written statement of the evidence relied on and the reason for the disciplinary

action. See Carter v. Lawler, 2011 U.S. Dist. LEXIS 64513, at 14 (M.D. Pa. 2011)

citing Wolff v. McDonnell, 418 U.S. 539, 563-67 (1974).

      Under that standard, prison officials have reasonable discretion to deny an

inmate’s request to call a witness if permitting the witness would undermine the

officials’ authority or “create a risk of reprisal.” See Wolff v. McDonnell, 418



                                         16
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 22 of 27



U.S. 539, 566 (1974). Prison officials are not required to inform an inmate about

the reason(s) why they denied the inmate’s request to call a witness. See id.

      Here, plaintiff claims he was not allowed to call witnesses during his

hearing, for the purpose of “proof that plaintiff’s volume was not excessive nor

disrupting inmates’ prison routine.” (Doc. 30, ¶ 16). However, plaintiff does not

even name the witnesses, or explain how or why their testimony was necessary for

a fair hearing. Nevertheless, and assuming that plaintiff even made such a request,

it would be wholly inconsistent with institutional safety and correctional goals to

provide a constitutional right to an inmate, who is charged with misconduct, to

parade into a hearing a number of witnesses in efforts to band against the Prison

disciplinary hearing process. That is the precise type of conduct that would

undermine prison officials’ authority.

      Indeed, C.O. Worthington wrote in his misconduct that he heard plaintiff

yelling at 4:30 a.m., that he had received multiple complaints from inmates

regarding the yelling, and that he asked plaintiff to stop three times in the matter of

a minute and plaintiff refused. Plaintiff has not even named the witnesses he asked

to call or the substance of the testimony they would have provided, and how the

same could possibly be required for a fair hearing in light of C.O. Worthington’s

report (which, the Court can safely assume, would be identical to any testimony he




                                          17
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 23 of 27



would/could provide). Under these circumstances, it is submitted that plaintiff has

failed to state a plausible procedural due process claim.

      Accordingly, defendants respectfully submit that the Court should dismiss

any Fourteenth Amendment procedural due process claim from plaintiff’s second

amended complaint.

            5. Plaintiff Has Failed to State a Cruel and Unusual
      Punishment (or Substantive Due Process) Claim Because Solitary
     Confinement for Ten Days Is not Actionable under the Constitution.

      Placement in solitary confinement does not, on its own, violate a prisoner’s

constitutional rights. See Johnson v. Wetzel, 209 F. Supp. 3d 766, 777 (M.D. Pa.

2016) citing Young v. Quinlan, 960 F.2d 351, 364 (3d Cir. 1992), superseded on

other grounds by statute, Prison Litigation Reform Act, 42 U.S.C. § 1997, et. seq.,

as recognized in Nyhuis v. Reno, 204 F.3d 65, 71 n.7 (3d Cir. 2000). The courts

have explained that it is only long term isolation that may rise to the level of an

Eighth Amendment (or in this case substantive due process) claim. See Johnson v.

Wetzel, 209 F. Supp. 3d 766, 777 (M.D. Pa. 2016) (“A number of courts have

resolved that the denials of basic human needs such as social interaction,

environmental stimuli, exercise, and sleep which attend long-term isolation run

afoul of the Eighth Amendment”) (emphasis added).

      The disciplinary hearing committee’s sentence of 10 days in solitary

confinement does not rise to the level of cruel and unusual punishment (or here, a


                                          18
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 24 of 27



violation of substantive due process, since plaintiff was not yet a sentenced inmate

to whom the Eighth Amendment applies). Indeed, the Supreme Court has held that

only claims of “extreme deprivations” will give rise to a constitutional claim. See

Hudson v. McMillian, 503 U.S. 1, 9 (1992). Prison officials have wide discretion

in determining the best measures for maintaining prison security, and there are no

facts pled here indicating that discretion was abused. See Mitchell v. Dodrill, 696

F. Supp. 2d 454, 467 (M.D. Pa. 2010) citing Whitley v. Albers, 475 U.S. 312, 321

(1986).

      Ten days in solitary confinement does not rise to an extreme deprivation, nor

does plaintiff’s claim that he was subjected to loud noises, a dirty cell, a thin

mattress, insects, and limited familial contact during that short time. And,

although plaintiff alleges that he was subjected to solitary confinement as a result

of the “discriminatory actions” by defendant C.O. Worthington, that claim is not

substantiated by any facts. Indeed, plaintiff admits that the disciplinary hearing

committee that found him guilty did not include defendant C.O. Worthington.

Further, the finding of guilt at the disciplinary hearing was for plaintiff making

excessive noise at 4:30 a.m.

      Indeed, after reviewing C.O. Worthington’s report, and plaintiff’s statement,

the disciplinary hearing committee determined that the best measure for

maintaining prison security was to impose a 10-day sanction against plaintiff for


                                          19
     Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 25 of 27



excessive noise. That sanction did not violate plaintiff’s Constitutional rights, as a

matter of law. Accordingly, plaintiff’s cruel and unusual punishment and related

substantive due process claims should be dismissed.

         6. Plaintiff Has Failed to State a Claim for Punitive Damages.

      In a Section 1983 case, punitive damages are possible only when a

defendant’s conduct is “motivated by evil motive or intent, or when it involves

reckless or callous indifference to the federally protected rights of others.” See

Alexander v. Riga, 208 F.3d 419, 431 (3d Cir. 2000) quoting Smith v. Wade, 461

U.S. 30, 56 (1983). There are no facts plead indicating that any of the defendants

acted with evil motive or intent, or with callous or reckless indifference to

plaintiff’s constitutional rights. Accordingly, if the second amended complaint is

not dismissed in its entirety, any claim for punitive damages should be stricken.

                                 VII. Conclusion

      For the above-stated reasons, defendants respectfully request that the Court

dismiss plaintiff’s second amended complaint, with prejudice.




                                          20
Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 26 of 27



                              Respectfully submitted,

                              McCORMICK LAW FIRM

                              By:   /s/ Austin White
                                     Brian J. Bluth, PA 87432
                                    Austin White, PA 312789
                                    Attorneys for Defendants Brad
                                    Shoemaker, Ryan C. Barnes, Daniel
                                    Worthington, R. Jack McKernan,
                                    Tony R. Mussare, Richard Mirabito,
                                    Lt. Harry Entz and Travis Heap

                                    835 West Fourth Street
                                    Williamsport, PA 17701
                                    (570) 326-5131
                                    (570) 601-0768 (fax)
                                    bbluth@mcclaw.com
                                    awhite@mcclaw.com




                               21
Case 3:18-cv-01715-ARC-PT Document 32 Filed 05/28/19 Page 27 of 27




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ABDULLAH IBN JIHAD FRIEND,  :
                Plaintiff   :
                            : Electronically Filed
        v.                  :
                            :
BRAD SHOEMAKER, RYAN C.     : Civil Action No.
BARNES, DANIEL WORTHINGTON, : 3:18-CV-01715 ARC PT
R. JACK MCKERNAN, TONY      :
R. MUSSARE, RICHARD         :
MIRABITO, LT. HARRY ENTZ,   :
and TRAVIS HEAP,            : Complaint filed August 29, 2018
                 Defendants :

                       CERTIFICATE OF SERVICE

      I, AUSTIN WHITE, hereby certify that the foregoing Defendants’ Brief in
Support of Their Motion to Dismiss Plaintiff’s Second Amended Complaint was
served this 28th day of May, 2019, upon the following, service as indicated:
U.S. MAIL, FIRST CLASS, POSTAGE PREPAID:
SPECIAL MAIL – OPEN ONLY
IN THE PRESENCE OF THE INMATE

Abdullah Ibn Jihad Friend
Inmate #00-03887
Lycoming County Prison
277 West Third Street
Williamsport, PA 17701

                              McCORMICK LAW FIRM

                              By: /s/ Austin White
                                  Austin White, PA 312789
                                  Attorney for Defendants
